16-10020-tmd Doc#448 Filed 10/13/19 Entered 10/13/19 23:31:32 Imaged Certificate of
                                Notice Pg 1 of 5




   IT IS HEREBY ADJUDGED and DECREED that the
   below described is MOOT.



   Dated: October 11, 2019
                                                    ________________________________________
                                                                 TONY M. DAVIS
                                                       UNITED STATES BANKRUPTCY JUDGE
   ____________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

                                                 §
      IN RE:                                     § Chapter 11
                                                 §
      FPMC AUSTIN REALTY                         § CASE NO. 16-10020-TMD
      PARTNERS, LP,                              §
                                                 §
                   Debtor.                       §


                            ORDER GRANTING REQUEST FOR PAYMENT
                                OF ATTORNEYS’ FEES AND COSTS

               Came on for consideration the Request for Payment of Attorneys’ Fees and Cost

      (the “Motion”) filed by Howard Spector, Receiver of Neal Richards Group Austin

      Development, LLC, the general partner of Reorganized Debtor FPMC Austin Realty

      Partners, LP (the “Receiver”). After considering the Motion, any responses or objections

      to the Motion, and the Court’s prior rulings, the Court finds that the fees and expenses

      requested by the Receiver were necessary and reasonable and the Motion should be

      GRANTED.




      {01462/0001/00236136.1}
16-10020-tmd Doc#448 Filed 10/13/19 Entered 10/13/19 23:31:32 Imaged Certificate of
                                Notice Pg 2 of 5


               Accordingly, IT IS THEREFORE ORDERED that Todd Furniss and

      glendonTodd Capital LLC pay the Receiver’s attorneys’ fees and costs in the amount of

      $83,520.28 on or before September 21, 2019.

                                              ###


      ORDER SUBMITTED BY:
      Rhonda B. Mates
      State Bar No. 24040491
      STREUSAND, LANDON, OZBURN & LEMMON, LLP
      1801 South Mopac Expressway., Ste. 320
      Austin, Texas 78746
      Telephone: (512) 236-9900
      Facsimile: (512) 236-9904
      mates@slollp.com

      ATTORNEYS FOR
      HOWARD MARC SPECTOR,
      RECEIVER FOR FPMC AUSTIN REALTY
      PARTNERS, LP AND NEAL RICHARDS GROUP, LLC




      {01462/0001/00236136.1}
                                                2
        16-10020-tmd Doc#448 Filed 10/13/19 Entered 10/13/19 23:31:32 Imaged Certificate of
                                        Notice Pg 3 of 5
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 16-10020-tmd
FPMC Austin Realty Partners, LP                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-1                  User: wallacea                     Page 1 of 3                          Date Rcvd: Oct 11, 2019
                                      Form ID: pdfintp                   Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 13, 2019.
db            #+FPMC Austin Realty Partners, LP,     3030 Olive Street, Suite 220,    Dallas, TX 75219-7639
aty            +John C. Tishler,    Waller Lansden Dortch & Davis, LLP,     511 Union Street, Ste 2700,
                 Nashville, TN 37219-1791
aty             Rhonda Bear Mates,    Streusand Landon Ozburn Lemmon LLP,     1801 S. Mopac Expressway,
                 Suite 320,    Austin, TX 78746
aty            +Tyler N. Layne,    Waller Lansden Dortch & Davis, LLP,    511 Union Street, Ste 2700,
                 Nashville, TN 37219-1791
aty            +Veronica Cruz,    Haynes and Boone, LLP,    1221 McKinney Street,    Houston, TX 77010-2011
cr              Amarillo National Bank,    Mullin Hoard & Brown,    C/O Don D. Sunderland,    P. O. Box 31656,
                 Amarillo, TX 79120-1656
intp           +CH Realty VI/MO Austin FPMC, LP,     3819 Maple Avenue,   Dallas, TX 75219-3913
intp           +Cherry Bekaert LLP,    200 South 10th Street,    Suite 900,    Richmond, VA 23219-4064
intp           +K&L Gates LLP,    c/o david Weitman,    1717 Main St #2800,    Dallas, TX 75201-7342
intp           +Kreager Mitchell, PLLC,    Kreager Mitchel PLLC,    7373 Broadway, Suite 500,
                 San Antonio, TX 78209-3269
intp           +Todd Furniss,    c/o Bruce W. Akerly,    Malone Akerly Martin PLLC,    8750 N. Central Expressway,
                 Suite 1850,    Dallas, TX 75231-6454
cr             +Williamson County, Texas,    c/o Lee Gordon,    P.O. Box 1269,    Round Rock, TX 78680-1269
intp           +gLendontodd Capital LLC,    c/o Bruce W. Akerly,    Malone Akerly Martin PLLC,
                 8750 N. Central Expressway,    Suite 1850,    Dallas, TX 75231-6454

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp           +E-mail/Text: jmims@iq7technology.com Oct 12 2019 00:20:33     Jeffrey H. Mims,
                 Founders Square, Suite 570,   900 Jackson Street,   Dallas, TX 75202-4404
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr             ##+Adolfson & Peterson,    c/o Gardere Wynne Sewell,  3000 Thanksgiving Tower,                          1601 Elm Street,
                   Kaufman, TX 75201-4757
                                                                                                                    TOTALS: 0, * 0, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 13, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 11, 2019 at the address(es) listed below:
              Brian Talbot Cumings   on behalf of Interested Party   TVKV Investments bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings   on behalf of Interested Party   Spice 4 Management, Ltd bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings   on behalf of Interested Party Lisa Hansard bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings   on behalf of Interested Party   Dallas Plastic Surgery Institute
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings   on behalf of Interested Party Bryan Kansas bcumings@gdhm.com,
               ctrickey@gdhm.com
      16-10020-tmd Doc#448 Filed 10/13/19 Entered 10/13/19 23:31:32 Imaged Certificate of
                                      Notice Pg 4 of 5


District/off: 0542-1          User: wallacea              Page 2 of 3                  Date Rcvd: Oct 11, 2019
                              Form ID: pdfintp            Total Noticed: 14


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Brian Talbot Cumings    on behalf of Interested Party    FMARR Investment Group, LLC
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Eric Heinrich bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Michael Putney bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party    Amaja, Ltd. bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Mark Perella bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Oscar Tamez bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Sherry Neyman bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party James Golab bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Steve Wilson bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Ira Lown bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party    Peters Group Family Management
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Aravind Sankar bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Attorney    Graves Dougherty Hearon and Moody P.C.
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Michelle Hudson bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party    The Arthur Clay Group, LLC
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Mark Sherman bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party David Dodgin bcumings@gdhm.com,
               ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party    Serota Limited Family Partnership
               bcumings@gdhm.com, ctrickey@gdhm.com
              Brian Talbot Cumings    on behalf of Interested Party Nancy Marquez bcumings@gdhm.com,
               ctrickey@gdhm.com
              Bruce W. Akerly    on behalf of Debtor    FPMC Austin Realty Partners, LP bakerly@akerlylaw.com,
               Lawclerk@akerlylaw.com;mgorman@akerlylaw.com
              Bruce W. Akerly    on behalf of Interested Party Todd Furniss bakerly@akerlylaw.com,
               Lawclerk@akerlylaw.com;mgorman@akerlylaw.com
              Bruce W. Akerly    on behalf of Interested Party    gLendontodd Capital LLC bakerly@akerlylaw.com,
               Lawclerk@akerlylaw.com;mgorman@akerlylaw.com
              Charles R. Gibbs    on behalf of Interested Party Todd Furniss Charles.gibbs@kattenlaw.com,
               casey.stuckey@kattenlaw.com;ecf.lax.docket@kattenlaw.com;karen.lahrman@kattenlaw.com;nicole.nowac
               ki@kattenlaw.com
              Charles R. Gibbs    on behalf of Interested Party    gLendontodd Capital LLC
               Charles.gibbs@kattenlaw.com,
               casey.stuckey@kattenlaw.com;ecf.lax.docket@kattenlaw.com;karen.lahrman@kattenlaw.com;nicole.nowac
               ki@kattenlaw.com
              David Weitman     on behalf of Interested Party    K&L Gates LLP david.weitman@klgates.com,
               greg.sapire@klgates.com
              Deborah A. Bynum    on behalf of U.S. Trustee    United States Trustee - AU12
               deborah.a.bynum@usdoj.gov
              Don D. Sunderland    on behalf of Creditor    Amarillo National Bank dsunderl@mhba.com,
               krobertson@mhba.com
              Duston K. McFaul    on behalf of Creditor    Sidley Austin LLP dmcfaul@sidley.com,
               txefilingnotice@sidley.com
              Edwin Paul Keiffer    on behalf of Creditor Wade Barker pkeiffer@romclaw.com,
               bwallace@romclaw.com
              Eric C. Seitz    on behalf of Interested Party Todd Furniss eseitz@kattenlaw.com,
               ecf.lax.docket@kattenlaw.com;karen.lahrman@kattenlaw.com;casey.stuckey@kattenlaw.com;Charles.gibb
               s@kattenlaw.com;casey.stuckey@kattenlaw.com;nicole.nowacki@kattenlaw.com
              Eric C. Seitz    on behalf of Interested Party    gLendontodd Capital LLC eseitz@kattenlaw.com,
               ecf.lax.docket@kattenlaw.com;karen.lahrman@kattenlaw.com;casey.stuckey@kattenlaw.com;Charles.gibb
               s@kattenlaw.com;casey.stuckey@kattenlaw.com;nicole.nowacki@kattenlaw.com
              Eric J. Taube    on behalf of Interested Party    St. David’s Healthcare Partnership, L.P.
               eric.taube@wallerlaw.com, sherri.savala@wallerlaw.com;annmarie.jezisek@wallerlaw.com
              Francis B Majorie    on behalf of Interested Party    CH Realty VI/MO Austin FPMC, LP
               fbmajorie@themajoriefirm.com, ECFNoticesTheMajorieFirm@gmail.com
              Howard Marc Spector    on behalf of Interested Party Howard Marc Spector
               hspector@spectorjohnson.com, sshank@spectorjohnson.com;ahawkins@spectorjohnson.com
              J. Mark Chevallier    on behalf of Interested Party    Texas Capital Bank, N.A.
               mchevallier@mcslaw.com
              Jacob B. Kring    on behalf of Interested Party Steve Wilson Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
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                                      Notice Pg 5 of 5


District/off: 0542-1          User: wallacea              Page 3 of 3                  Date Rcvd: Oct 11, 2019
                              Form ID: pdfintp            Total Noticed: 14


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Jacob B. Kring    on behalf of Interested Party    Peters Group Family Management
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Mark Sherman Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    Dallas Plastic Surgery Institute
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Michael Putney Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party David Dodgin Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party James Golab Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Sherry Neyman Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Ira Lown Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    Spice 4 Management, Ltd Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Bryan Kansas Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Eric Heinrich Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Mark Perella Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Nancy Marquez Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Michelle Hudson Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    The Arthur Clay Group, LLC
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    Serota Limited Family Partnership
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    FMARR Investment Group, LLC
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Lisa Hansard Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Aravind Sankar Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party Oscar Tamez Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    CH Realty VI/MO Austin FPMC, LP
               Jacob@HedrickKring.com, Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    TVKV Investments Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Jacob B. Kring    on behalf of Interested Party    Amaja, Ltd. Jacob@HedrickKring.com,
               Mckenzie@HedrickKring.com
              Joel B. Bailey    on behalf of Interested Party    Neal Richards Group, LLC Joel@HedrickKring.com,
               Josh@HedrickKring.com
              Kelli S. Norfleet    on behalf of Interested Party    Ascension Health Texas d/b/a Seton Healthcare
               Family kelli.norfleet@haynesboone.com
              Kelli S. Norfleet    on behalf of Creditor    Children’s Health System of Texas
               kelli.norfleet@haynesboone.com
              Kelli S. Norfleet    on behalf of Interested Party    Children’s Health System of Texas
               kelli.norfleet@haynesboone.com
              Kelli S. Norfleet    on behalf of Creditor    Ascension Health Texas d/b/a Seton Healthcare Family
               kelli.norfleet@haynesboone.com
              Lee Gordon     on behalf of Creditor    Williamson County, Texas
               vcovington@mvbalaw.com;kmorriss@mvbalaw.com;cary.cain@mvbalaw.com;bankruptcy@mvbalaw.com;tleday@e
               cf.courtdrive.com
              Linda S. LaRue    on behalf of Creditor    Frost Bank llarue@qslwm.com, jadams@qslwm.com
              Lisa K Shimel    on behalf of Interested Party    Centennial Bank lshimel@bsblawyers.com,
               kjones@bsblawyers.com
              Marcus A. Helt    on behalf of Creditor    Adolfson & Peterson mhelt@foley.com, acordero@foley.com
              Peter C. Ruggero    on behalf of Interested Party    STERIS Corporation peter@ruggerolaw.com
              Raymond W. Battaglia    on behalf of Debtor    FPMC Austin Realty Partners, LP
               rbattaglialaw@outlook.com
              Raymond W. Battaglia    on behalf of Interested Party    Kreager Mitchell, PLLC
               rbattaglialaw@outlook.com
              Stephen Wayne Lemmon    on behalf of Debtor    FPMC Austin Realty Partners, LP lemmon@slollp.com,
               mates@slollp.com
              Steven T. Holmes    on behalf of Interested Party Jeffrey H. Mims sholmes@chfirm.com
              Timothy Andrew York    on behalf of Creditor    Frost Bank tyork@qslwm.com, nchancellor@qslwm.com
              United States Trustee - AU12    ustpregion07.au.ecf@usdoj.gov
                                                                                              TOTAL: 80
